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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Joseph M Kupiszewski, et al.
                                                        Plaintiff,
v.                                                                   Case No.:
                                                                     1:17−cv−06393
                                                                     Honorable John J.
                                                                     Tharp Jr.
Mohawk Finishing Products Division of RPM Wood
Finishes Group, Inc., et al.
                                                        Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, November 21, 2018:


       MINUTE entry before the Honorable John J. Tharp, Jr:The status hearing currently
scheduled for 12/4/18 [79] is reset to 1/29/19 at 9:00 a.m. Mailed notice(air, )




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